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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA,        )
                                 )
     Plaintiff,                  )
                                 )           MISC. ACTION NO.
     v.                          )            2:19mc3889-MHT
                                 )                 (WO)
ROOT STAFF CORPORATION,          )
Vero Beach, FL                   )
                                 )
     Garnishee,                  )
                                 )
MARCUS DUPREE HURRY,             )
                                 )
     Defendant.                  )

                               ORDER

    The   government     filed    this     garnishment     action       on

August    15,    2019.        While       garnishee     Root     Staff

Corporation apparently was served, see Acknowledgement

of Service (doc. no. 7), it never filed an answer to

the writ of garnishment, as required under 28 U.S.C.

§ 3205(c)(4).     The government has not taken any action

as a result of this failure.              See generally 28 U.S.C.

§ 3205(c)(6).      As a result, the court does not know

whether    the    government         is    still    pursuing          this

garnishment action, and has been unable to enter an
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appropriate     disposition       order.          See     28    U.S.C.

§ 3205(c)(7).

    Therefore, it is ORDERED that the government show

cause, if any there be, by October 8, 2020, as to why

this case should not be dismissed without prejudice for

failure to prosecute.         In lieu of showing cause, the

government may instead, by the above deadline, file an

appropriate motion to advance or resolve this case.

    DONE, this the 24th day of September, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
